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18                                 UNITED STATES DISTRICT COURT
19                              NORTHERN DISTRICT OF CALIFORNIA
20                                         OAKLAND DIVISION
21    EPIC GAMES, INC.                                Case No. 4:20-cv-05640-YGR-TSH
22
            Plaintiff, Counter-defendant              JOINT NOTICE WITH RESPECT TO
23    v.                                              EPIC’S MOTION TO ENFORCE THE
                                                      INJUNCTION
24    APPLE INC.,
                                                      Courtroom: 1, 4th Floor
25          Defendant, Counterclaimant
                                                      Judge: Hon. Yvonne Gonzalez Rogers
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     JOINT NOTICE WITH RESPECT TO EPIC’S MOTION                    CASE NO. 4:20-CV-05640-YGR-TSH
     TO ENFORCE THE INJUNCTION
       Case 4:20-cv-05640-YGR          Document 1590         Filed 05/20/25     Page 2 of 5




1           Pursuant to the Court’s Order to Show Cause entered on May 19, 2025 (Dkt. 1576), the parties

2    (Epic Games, Inc. and Apple Inc.) jointly submit that they have resolved all issues presented by the

3    Motion to Enforce filed on May 16, 2025 (Dkt. 1568) and that no further submissions by the parties or

4    action by the Court are required with respect to that Motion.

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     JOINT NOTICE WITH RESPECT TO EPIC’S MOTION         1               CASE NO. 4:20-CV-05640-YGR-TSH
     TO ENFORCE THE INJUNCTION
       Case 4:20-cv-05640-YGR      Document 1590       Filed 05/20/25       Page 3 of 5




1     Dated: May 20, 2025                         Respectfully submitted,

2                                                 By: /s/ Mark A. Perry
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     JOINT NOTICE WITH RESPECT TO EPIC’S MOTION    2              CASE NO. 4:20-CV-05640-YGR-TSH
     TO ENFORCE THE INJUNCTION
       Case 4:20-cv-05640-YGR      Document 1590       Filed 05/20/25       Page 4 of 5




1     Dated: May 20, 2025                         Respectfully submitted,
2                                                 By: /s/ Gary A. Bornstein
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     JOINT NOTICE WITH RESPECT TO EPIC’S MOTION    3              CASE NO. 4:20-CV-05640-YGR-TSH
     TO ENFORCE THE INJUNCTION
       Case 4:20-cv-05640-YGR           Document 1590        Filed 05/20/25     Page 5 of 5




1                                         E-FILING ATTESTATION

2
     I, Mark A. Perry, am the ECF User whose ID and password are being used to file this document. In
3
     compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories identified above
4
     has concurred in this filing.
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                                                                         /s/ Mark A. Perry
7                                                                        Mark A. Perry
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     JOINT NOTICE WITH RESPECT TO EPIC’S MOTION         4               CASE NO. 4:20-CV-05640-YGR-TSH
     TO ENFORCE THE INJUNCTION
